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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:
                                                      CASE NO. 2:22-bk-02159
HUCKLEBERRY                                           CHAPTER 11
PARTNERS, LLC,


      Debtor.
_________________________________/

                             CASE MANAGEMENT SUMMARY

         HUCKLEBERRY PARTNERS, LLC (the “Debtor”), by and through its undersigned

counsel, and pursuant to Administrative Order FLMB 2009-1 and Local Rule 2081-1(b), hereby files

its Chapter 11 Case Management Summary, and states as follows:

I.       Description of the Debtor’s Business

         1.    The Debtor was formed on or about February 16, 2005, as a special purpose entity to

purchase, construct, and operate a shopping center called Waterford Commons, which is located at

12789 Waterford Lakes Parkway, Orlando, Florida (the “Real Property”). The Debtor conducts

leasing and daily management for Waterford Commons. The Debtor’s Real Property is 93% leased

with commercial tenants with long term leases. The Debtor is a member-managed company. The

Debtor’s only member with decision making authority is Henry James Herborn, III (“Mr. Herborn”).

II.      Reasons for Filing Bankruptcy

         2.    First and foremost, the Debtor filed this bankruptcy case to sell its Real Property for

the benefit of all claimholders and avoid additional claims against the Debtor. The Debtor holds a

commitment from Amarc Properties II, LLC (an independent third-party) to purchase the Real

Property, along with the assignment of all tenant leases, for a gross price of Six Million Two

Hundred Seventy-Five Thousand Dollars and No Cents ($6,275,000.00) (the “Sale”). The Sale was



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a result of a multiple month negotiation and vetting of the market for the best and highest offer.

Debtor will use funds from the sale to pay its senior mortgage holder, Emerald Creek Capital 3, LLC

(as well as other creditors holding liens on the property), and utilize the remaining funds to satisfy

other creditors’ allowed claims. Emerald Creek Capital 3, LLC (“Emerald”) is owed approximately

$3,675,000.00 and Emerald’s note is set to mature on June 30, 2022. Debtor hopes to complete the

sale of Waterford Common expeditiously to avoid default interest and other costs and charges

associated with Emerald’s claim.

       3.      The Debtor has been unable to complete the sale of the Real Estate and transfer clean

title to Amarc Properties because of pending litigation. The Debtor is implicated directly and

indirectly in two current lawsuits (collectively, the “Lawsuits”): Case No.: 2016-CA-001357 in

Orange County, Florida (the “Orange County Action”) and Case No.: 17-011547 in Broward

County, Florida (the “Broward County Action”). The Orange County Action has already been

removed to this Bankruptcy Court as Adversary Case No.: 6:22-ap-00050. Debtor further anticipates

the removal of the Broward County Action. The Lawsuits involve core bankruptcy matters. The

consolidation of the Lawsuits into one forum will promote the efficient administration of the

bankruptcy estate.

       4.      The Orange County Action pertains to the misappropriation of monies belonging to

the Debtor by two past members – Adam Kanter and Stephanie Shimm a/k/a Stephanie Kanter. The

Debtor estimates Adam Kanter and Stephanie Shimm embezzled more than four million dollars from

the Debtor. The operative complaint in the Orange County Action is attached hereto as Exhibit “A”.

Additionally, the Broward County Action involves disputes between Mr. Herborn and Adam Kanter

regarding equity ownership interests in the Debtor.

       5.      In sum, the Debtor filed the instant case to preserve its going concern value, liquidate

its Real Property, consolidate the Lawsuits into one forum, and determine the amount and respective


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rights of its creditors’ and equity holders’ claims. Absent such, the Debtor may incur significantly

more administrative and legal costs and fees and face claims by the Buyer and the Debtor’s broker

for failure to deliver the Real Property consistent with the parties’ agreement.

III.   Debtor’s Gross Revenue

       6.      The Debtor had gross revenues in the amount of $644,529.75 for 2021 and the Debtor

has gross revenues of $324,083.89 for 2022. The Debtor’s revenue is derived from the lease of its

Real Property from its tenants.

IV.    Ownership Interests in the Debtor and the Debtor’s Management

       7.      Henry James Herborn, III and Rhonda Craddock Herborn (as TBE) own 100% of the

management interests in the Debtor and all decision-making authority vests with Mr. Herborn.

       8.      Henry James Herborn, III and Rhonda Craddock Herborn (as TBE) own 30% of the

economic interest in the Debtor, Adam Kanter owns a 35% economic interest in the Debtor, and

Stephanie Shimm owns a 35% of the economic interest in the Debtor. The allocation of the

economic interests set forth above are disputed among these individuals on numerous grounds.

V.     Amounts Owed to Various Classes of Creditors

       9.      As of the Petition Date, the Debtor owes approximately $3,706,500.00 in secured

debts. Emerald is owed approximately $3,675,000.00 on account of its first mortgage lien, the

Orange County Tax Collector is owed approximately $25,000.00 (pro-rata for the year) for 2022 real

property taxes, and the Florida Department of Revenue is owed approximately $6,500.00 (disputed)

on account of a tax lien stemming from alleged unpaid sales tax.

       10.     As of the Petition Date, the Debtor believes there are approximately $250,000.00 in

non-insider unsecured claims representing trade debts and legal fees.




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       11.     As of the Petition Date, the Debtor believes there are approximately $1,500,000.00 in

equity insider claims and $15,000.00 in non-equity insider claims. The insider claims pertain only to

Mr. Herborn.

       12.     The Debtor does not believe it owes any taxes to the IRS.

VI.    General Description and Approximate Value of the Debtor’s Assets

       13.     The Debtor owns the Real Property in the approximate amount of $6,275,000.00,

cash in bank accounts totaling approximately $68,000.00 (however approximately $35,000.00 is

tenant security deposits), and personal property in the amount of $750.00. Debtor’s personal

property consists of repair and maintenance equipment such as a pressure washer. The Debtor also

owns causes of action worth more than $4,000,000.00 against Adam Kanter/Stephanie Shimm.

VII.   Number of Employees and Amounts Owed

       14.     As of the Petition Date, the Debtor does not have any employees, but pays a

management fee to Mr. Herborn on account of his management and maintenance related work for

the Debtor.

VIII. Debtor’s Strategic Objectives

       15.     The Debtor intends to liquidate its Real Property, pursue its causes of action for the

benefit of the estate, and determine the amount and respective rights of its creditors’ claims. Upon

the successful sale of Waterford Commons, Debtor will propose a plan of liquidation.

IX.    Anticipated Emergency Relief to be requested within 14 days from the Petition Date

       16.     Emergency Motion for the Use of Cash Collateral.

       17.     Emergency Motion to Pay Officer Affiliate Compensation

RESPECTFULLY SUBMITTED this 20th day of June, 2022.

                                                  /s/ Justin M. Luna
                                                  Justin M. Luna, Esq.
                                                  Florida Bar No. 0037131


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_________________________________/

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the CASE MANAGEMENT SUMMARY has
been furnished either electronically and/or by U.S. First Class, postage prepaid overnight mail to:
Huckleberry Partners LLC, 3801 Avalon Park East Blvd., Suite 200, Orlando, Florida 32828; all
parties entitled to receive electronic noticing via CM/ECF; the twenty largest unsecured creditors as
shown on the matrix attached to the original of this pleading filed with the Court; and the U.S.
Trustee, 400 West Washington Street, Suite 1100, Orlando, Florida 32801, this 20th day of June,
2022.


                                              /s/ Justin M. Luna
                                              Justin M. Luna, Esq.




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